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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

DEMOCRACY FORWARD FOUNDATION,             )
                                          )
            Plaintiff,                    )
                                          )
      v.                                  )                   Civil Action No. 18-1799 APM
                                          )
U.S. DEPARTMENT OF COMMERCE,              )
                                          )
            Defendant.                    )
__________________________________________)

   NOTICE OF RESTORED GOVERNMENT FUNDING AND JOINT STATUS REPORT

       1.        Pursuant to this Court’s January 10, 2019 Minute Order, Defendant hereby notifies

the Court and Plaintiff that an appropriations act providing funding to the Department of Justice

(“DOJ”) for a three-week period of time was enacted on January 25, 2019. Consequently, DOJ

attorneys, including the undersigned Assistant United States Attorney assigned to this case, were

authorized by law to resume work on January 28, 2019, to tend to civil matters, including matters

that are not “emergencies involving the safety of human life or the protection of property.” 31

U.S.C. § 1342.

       2.        The parties also report that they have conferred and intend over the course of the

next few weeks to continue discussions regarding the progress of searches conducted and to be

conducted in this Freedom of Information Act (“FOIA”) action.
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       WHEREFORE, the parties propose that the Court establish a date for a further joint status

report on February 20, 2019.


                                    Respectfully submitted,

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